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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ROME DIVISION




IN RE: TRI-STATE
CREMATORY LITIGATION                          MDL DOCKET NO. 1467




                          PLAINTIFFS' RESPONSE TO
                  RYAN FUNERAL HOME, INC.' S STATEMENT OF
                        MATERIAL FACTS AS TO WHICH
                    THERE IS NO GENUINE ISSUE FOR TRIAL


            Plaintiffs hereby respond to Defendant Ryan Funeral Home, Inc .'s Statement

of Material Facts as to which it alleges there is No Genuine Issue for Trial,

pursuant to United States District Court for the Northern District of Georgia, Local

Rule 56 .1(B)(2) as follows:

                                             1.


            Ryan Funeral Home, Inc. defined as also ECI Georgia Services of Georgia,

Inc ., SCI Georgia Funeral Services of Georgia, Inc. FDBA Ryan Funeral Home,

and all other entities owning or operating Ryan Funeral Home, Inc . 1985 through

1999 ("Ryan") started operations in 1976 in Trenton, Georgia . Ryan was sold in




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1998 to a holding company named ECI Services of Georgia. This was later

acquired by SCI Georgia Funeral Services, Inc. In 2001, the home was purchased

back and is currently owned and operated by Robert A. Ryan, Jr. and David J .

Ryan under the name, Ryan Funeral Home, LLC. (Deposition of Robert Anderson

Ryan, Jr., pp. 7, 24, 28, 32, 33).

           RESPONSE :         Not disputed and not material .

                                               2.


           Robert A. Ryan, Jr. has been a licensed funeral director in Georgia since

1970 . (Id., p. 8).

           RESPONSE :         Not disputed .

                                               3.


           Ryan began using the services of Tri-State Crematory ("Tri-State") in 1985 .

Ryan elected to use Tri-State has based its good reputation among the local funeral

home operators . (Id., Depo ., pp. 68, 70).

           RESPONSE :           It is not disputed that Ryan utilized Tri-State Crematory
           beginning in 1985 . It is disputed, though not material, that Ray Marsh
           enjoyed a "good reputation." (See, for instance, Grissom deposition, 31-32,
           34-35, 42-43, 47; Rollins deposition, 57, 62-63, 70-73, 91-92, 102, 125,
           135-136). Moreover, reputation is not the determining factor a reasonably
           prudent funeral director would rely upon in selecting a third party crematory.
           See expert witness disclosures of Charles Crawford and Donald
           Douthit, and class certification hearing testimony of Charles Crawford
           Transcript I, at 98-109, 122) and defense expert Kroboth (Transcript II, at
           154), and the standard published by the Cremation Association of North




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            America regarding the requirements of the standard of care for a funeral
            home in selecting a third party crematory. (Exhibit 1)

                                                 4.


            From 1985 to 1999, Ryan sent 38 bodies to Tri-State for cremation . No Ryan

entity sent any bodies to Tri-State after 1999 . (Id., Depo ., p . 32, 57).

            RESPONSE :           It is not disputed that Ryan has contended that it sent 38
            decedents to Tri-State for cremation during the class period. However, the
            accuracy of such contention is unknown and unknowable as any such
            records, if existing, are within the control of Ryan . Also, Defendant Ryan
            selected a third party crematory which failed to maintain contemporaneous
            records of decedents . See Brent Marsh deposition at p. 135 .

                                                 5.


            Ryan did not control Tri-State Crematory's hours of work ; instead, Robert A .

Ryan, Jr. or David Ryan would call Ray or Brent Marsh on the phone, inform them

Ryan needed a cremation for a particular decedent, and ask when he or David J .

Ryan could bring the decedent to Tri-State for cremation . (Robert A. Ryan, Jr.

Affidavit, 13).

            RESPONSE :           It is not disputed that this is the contention of this funeral
            home. It is furthermore not material to the determination of whether the
            funeral home is liable for the acts of Tri-State . In addition to the fact that the
            duties undertaken by the funeral homes were non-delegable under Georgia
            law, fact issues preclude summary judgment on the question of agency, of
            which this alleged contention is one element . A small number of form
            documents used by each funeral home will govern the jury's ultimate
            determinations about this issue . Nearly every funeral home used a
            "Cremation Authorization" form that expressly authorized the funeral home
            - not Tri-State - to make arrangements for cremation and listed the funeral



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           home's specific requirements for manner in which the work was to be
           performed . The form contract between each funeral home and the class
           members states that: "The cremation authorized herein shall be performed
           in accordance with all governing laws, the rules, regulations and policies of
           the Crematory and Funeral Home and the following conditions : . . ." The
           form thus establishes that Tri-State was required to adhere to the funeral
           home's rules, policies and regulations regarding the manner in which the
           work was to be performed . The form agreement also establishes that
           statutory provisions governed the manner in which the work was to be
           performed and the duties undertaken by the funeral home were, therefore,
           non-delegable . Prior to use of this form, the funeral home defendants used a
           less detailed Authorization, which stated that, "I/we authorize
           Funeral Home to cremate the remains of                 ." While less detailed,
           this Authorization, as well, establishes that the funeral homes were the
           entities authorized to by the class members to cremate their loved ones'
           remains, and that the class member's contracts expressly provided for the
           funeral home to perform the cremation . The funeral homes' duties were
           therefore non-delegable, making Tri-State their agent . In addition, the
           Tennessee funeral homes executed a State of Tennessee, Permit for Final
           Disposition of Human Remains, in which the funeral home signed the
           following: "I agree to abide by all laws and rules of the Tennessee
           Department of Health and all other laws pertaining to the preparation,
           container, transportation, burial and/or cremation of same ." These permits
           reflect that the state permit for disposition under regulations and applicable
           laws was issued to funeral home, not Tri-State, making disposition duties
           undertaken non-delegable . Moreover, the pernvts establish that statutory
           provisions governed the manner in which the work was to be performed and
           the duties undertaken by the funeral home were, therefore, non-delegable .



                                             6.


           Ryan did not tell Tri-State how or when to perform the cremation, nor

instruct Ray or Brent Marsh to utilize a certain crematory manufacturer or use

specific tools or materials associated with the cremation process . (Robert A.

Ryan, Jr. Affidavit, 114, 5 .)



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            RESPONSE:             This contention is not disputed ; Ryan Funeral Home
            failed to instruct, properly direct or monitor Tri-State Crematory with regard
            to the performance of cremations . It is disputed that Ryan Funeral Home,
            Inc. met the standard of care required of a funeral director and funeral home
            in selecting, monitoring, and supervising a third-party crematory and it is
            disputed that a licensed funeral director could delegate his duties to an
            unlicensed crematory . See expert witness disclosures of Charles Crawford
            and Donald Douthit, and class certification hearing testimony of Charles
            Crawford (Transcript I, at 98-109, 122) and defense expert Kroboth
            (Transcript II, at 154), and the standard published by the Cremation
            Association of North America regarding the requirements of the standard of
            care for a funeral home in selecting a third party crematory . (Exhibit 1)



                                                 7.


            Ray or Brent Marsh would transport the cremated remains back to the

funeral home. (Robert A. Ryan, Jr., Affidavit, 16).

            RESPONSE :          It is not disputed that this is the contention of this
            defendant and it further exemplifies a lack of due care in selecting,
            supervising and monitoring a third party crematory .



                                                 8.


            The cremated remains which Ryan received were always represented by Tri-

State to be the cremated remains of the respective body taken to Tri-State for

cremation . (Robert A . Ryan, Jr. Affidavit, 17) .

            RESPONSE :          It is not disputed that this is the contention of this
            defendant and it further exemplifies a lack of due care in selecting,
            supervising and monitoring a thud party crematory .




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                                               9.


            On February 15, 2002, uncremated remains from the 1997-2002 era were

discovered at the Tri-State location . (Second Affidavit of Kris Sperry, 114, 6-9.)

            RESPONSE :          It is disputed that the remains discovered at the Tri-State
            location on and after February 15, 2002 were "from the 1997-2002 era."
            More than one hundred sets of remains recovered from the property have not
            been identified and, thus, their dates of death are unknown . (Sperry
            deposition, at 263, 332-333).



                                              10.


            Three Hundred and Thirty-Four sets of human remains were found at Tri-

State and 223 of those sets of remains have been identified .

            RESPONSE :           Disputed. Many additional bones, remains and cremated
            remains were located on the property . The identity of these decedents, or
            even the number of decedents from whom these remains came, is unknown
            and, due to the defendants' inadequate record-keeping, unknowable .
            (Transcript I, at 126-27, 157-59 ; Sperry deposition, at 283). It is not
            disputed that approximately 223 identifications have been announced at this
            point.

                                              11 .


            According to Dr. Kris Sperry, Chief Medical Examiner of the State of

Georgia, "based upon the scientific evidence analyzed to date. . . these bodies

arrived at Tri-State Crematory no earlier than 1997." (Second Affidavit of Kris

SPerry, 12 .)

            RESPONSE :         Not disputed that Kris Sperry made the quoted statement;


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            it is disputed that such statement is accurate. As was aptly demonstrated
            during Dr. Sperry's deposition, the assumptions underlying his initial
            conclusions in this regard were not accurate . (Sperry deposition, at 332-
            333). Additionally, Kris Sperry has also said that no family whose loved
            one was sent to Tri-State for cremation at any time can be certain of the
            result (Sperry deposition, at 263) . Thus, while the statement is not disputed,
            the factual conclusion is disputed.

                                                12 .


            Dc Sperry's opinion is based upon his "analysis of the methodology by

which these bodies were placed in mass graves, vaults and elsewhere on the

property, forensic identification of the bodies and DNA test results ." (Second

Affidavit of Kris Sperry at 4-9 .)

            RESPONSE :          Not disputed that the quotation is Dr . Sperry's ; it is
            disputed that Dr. Sperry was accurate in making such statement . See
            citations above to testimony of Sperry.

                                                13.


            Of the 223 remains identified, two of those remains were sent to Tri-State by

Ryan .

            RESPONSE :          It is not disputed that 223 remains have been identified or
            that a minimum of 2 of these remains were sent by Ryan . However, over
            one hundred uncremated remains were discovered on the property as well as
            the cremated and partially cremated remains of an unknown and unknowable
            number of decedents . Moreover, many families who had their loved one's
            remains positively identified among the remains recovered from the Tri-
            State property had received the human remains of another unknown and
            unknowable decedent, sent there by the funeral home defendants. See
            (Sperry deposition, at 283; Transcript I, at 126-127, 157-159) .




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Dated this &day
2003

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                             PROOF OF SERVICE BY MAIL

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      EXHIBIT / ATTACHMENT


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            CANA Guidelines
        For Funeral Directors
   Who Do Not Have A Crematory
          What To Inspect
    Z'he pu-pose of this document is to provide the funeral director, who u
    actin; as the agent of the family, with a list ofquestions that the cre-
    mation facility should be able to answer or provide the necessary :nfor-
    matior. so shat the funeral director cur make an informed decision as
    .o the competency and the adequacy of the cremation facility.


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   bc ::n reviewed by legal counsel?                    G. Arc maintenance logs or reports kept on

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   cremation facility. Are they available co the      SIISDeq10I15 2CtfOiJiled on a routine b851$?

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   and procedures manual? Is there a synopsis           I . Have the Qerranon technicians re,eived
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     c,^.sl:edconUinerized numen remains                 Mma irs; will . not fit m a single receptacle,    television or radio.
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  individual holding spaces for each cas-                in handling the esws?                             rep orter know in a voce or phone call .
  kedconrainer? Is the holding or storage                                                                    Iliac tins :.over noncomoncationi
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